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Of Attorneys for Plaintiffs




                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION



TRINKA A. TURNER, et al.,                                        Case No. 3:13-cv-01900-SI

                      Plaintiffs,                 STIPULATION OF VOLUNTARY
                                                  DISMISSAL UNDER FRCP
       v.                                         41(a)(1)(A)(ii)

THOMAS VILSACK, et al.,

                      Defendants.


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       Pursuant to FRCP 41(a)(1)(A)(ii), the stipulation of the parties as evidenced

below, and the following representations:

       USDA has rescinded the notice of default and election to sell the property at issue;

       USDA will continue to operate in good faith towards a potential transfer of the

property to Community and Shelter Assistance Corp. (CASA) under its current option

agreement with CASA; and

       USDA will explore and consider options that keep the property in the USDA

multifamily housing program, along with other property management options, if the

option agreement with CASA does not result in a transfer of the property;

       The parties hereby give notice of the voluntary stipulated dismissal of this action,

without prejudice.

IT IS SO STIPULATED:

       Dated this 5th day of November, 2015.

                                                  Respectfully submitted,

                                                  OREGON LAW CENTER


                                                  /s/ Michael Pijanowski
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                                                  Attorney for Plaintiffs

                                                  BILLY J. WILLIAMS
                                                  Acting United States Attorney
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                                                  /s/ Sean E. Martin
                                                  SEAN E. MARTIN
                                                  Attorney for Defendants


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